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                                          Attorneys for Defendant
                                      7   SALEM MEDIA GROUP, INC.
                                      8
                                      9                         UNITED STATES DISTRICT COURT
                                     10
                                                               CENTRAL DISTRICT OF CALIFORNIA
                                     11
Gordon Rees Scully Mansukhani, LLP




                                     12   ANDREW BOYD, III, individually and              CASE NO. 2:25-CV-01288
    101 W. Broadway, Suite 2000




                                     13   on behalf of all others similarly situated,
       San Diego, CA 92101




                                                                                          STIPULATION TO EXTEND
                                     14                              Plaintiff,           TIME FOR DEFENDANT TO
                                     15                                                   RESPOND TO COMPLAINT FOR
                                                vs.                                       AN ADDITIONAL 45 DAYS
                                     16
                                     17   SALEM MEDIA GROUP, INC.,
                                                                                          Complaint served: February 20, 2025
                                     18                              Defendant.           Current response date: March 13,
                                     19                                                   2025
                                                                                          New response date: April 27, 2025
                                     20
                                     21
                                     22         Plaintiff, Andrew Boyd III, and Defendant, Salem Media Group, Inc., by
                                     23   and through their respective counsel of record, stipulate as follows:
                                     24         WHEREAS, Defendant was served with the Summons and Complaint in
                                     25   this matter on February 20, 2025;
                                     26         WHEREAS, pursuant to Federal Rule of Civil Procedure 12(a)(1),
                                     27   Defendant’s responsive pleading deadline is originally due on March 13, 2025;
                                     28
                                                                                    -1-
                                          STIPULATION TO EXTEND TIME FOR DEFENDANT TO RESPOND
                                          TO COMPLAINT FOR AN ADDITIONAL 45 DAYS            Case No.2:25-cv-01288
                                 Case 2:25-cv-01288-AH-AJR         Document 11     Filed 03/12/25   Page 2 of 2 Page ID
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                                      1         WHEREAS, good cause exists to extend the time for Defendant to respond
                                      2   to the Complaint as the deadline to respond to the Complaint has not expired, and
                                      3   Defendant requires additional time to evaluate the allegations and prepare an
                                      4   appropriate response to the Complaint;
                                      5         IT IS HEREBY STIPULATED AND AGREED, by and between Plaintiff
                                      6   and Defendant through their respective attorneys, that Defendant’s time to answer,
                                      7   move, or otherwise respond to Plaintiff’s Complaint shall be extended up to and
                                      8   including April 27, 2025.
                                      9         IT IS SO STIPULATED.
                                     10
                                          Dated: March 12, 2025                      HEDIN LLP
                                     11
                                                                                     By: /s/ Frank S. Hedin
Gordon Rees Scully Mansukhani, LLP




                                     12
                                                                                         Frank S. Hedin
    101 W. Broadway, Suite 2000




                                     13                                                  Attorneys for Plaintiff
       San Diego, CA 92101




                                     14                                                  ANDREW BOYD III
                                     15
                                          Dated: March 12, 2025                      GORDON REES SCULLY
                                     16                                              MANSUKHANI
                                     17
                                                                                     By: /s/ Timothy K. Branson
                                     18
                                                                                         Timothy K. Branson
                                     19                                                  Attorneys for Defendant
                                                                                         SALEM MEDIA GROUP, INC.
                                     20
                                     21
                                                                           ATTESTATION
                                     22
                                                Pursuant to L.R. 5-4.3.4, I hereby attest that all other signatories listed, and
                                     23
                                          on whose behalf this filing was submitted, concur in the filing’s content and have
                                     24
                                          authorized the filing.
                                     25
                                     26   Dated: March 12, 2025                  /s/ Timothy K. Branson
                                     27                                          Timothy K. Branson
                                     28
                                                                                   -2-
                                          STIPULATION TO EXTEND TIME FOR DEFENDANT TO RESPOND
                                          TO COMPLAINT FOR AN ADDITIONAL 45 DAYS            Case No.2:25-cv-01288
